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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                              )
                                                      )
       v.                                             )      Crim. No. 22-10141-WGY
                                                      )
SEAN O’DONOVAN,                                       )
                                                      )
                       Defendant                      )


                        GOVERNMENT’S ASSENTED-TO MOTION
                         FOR DISCOVERY PROTECTIVE ORDER

       The United States respectfully requests that the Court endorse the attached proposed

protective order. In support of this motion, the government states:

       1.       The government anticipates providing, with its automatic discovery, certain

confidential records. These consist primarily of business and financial records of third-party

entities, as well as third-party telephone records.

       2.       The proposed protective order would limit the dissemination of these confidential

records to the defendant and defense counsel of record, including their investigators, paralegals,

law clerks, and assistants. In addition, defense counsel would be permitted to disclose such

records to any potential fact witnesses if personal identifying information were redacted, and to

any expert witness without redaction provided that the expert witness signs an acknowledgement

agreeing to be bound by the terms of the protective order and agrees to destroy all protected

records, or return them to defense counsel, at the end of the case.

       3.       The proposed protective order provides that no person receiving confidential

records may further disclose or disseminate them, except as ordered by the Court or agreed upon

between defense counsel and the government.




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       4.       The government has conferred with defense counsel, who assents to the relief

requested in this motion and stipulates to the attached proposed order.

                                              Respectfully submitted,

                                              RACHAEL S. ROLLINS
                                              United States Attorney

Dated: July 1, 2022                   By:     /s/ Kristina E. Barclay
                                              KRISTINA E. BARCLAY
                                              Assistant U.S. Attorney

                                              JONATHAN JACOBSON
                                              Trial Attorney, Public Integrity Section


                                      Certificate of Service

        I certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) on July 1, 2022.

                                              /s/ Kristina E. Barclay
                                              KRISTINA E. BARCLAY




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